        Case 2:21-cv-01189-RFB-BNW Document 51 Filed 01/14/22 Page 1 of 15



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17
                                  IN THE UNITED STATES DISTRICT COURT
18
                                       FOR THE DISTRICT OF NEVADA
19
     Kajan Johnson and Clarence Dollaway, on behalf      Case No.: 2:21-cv-01189-RFB-BNW
20   of themselves and all others similarly situated,
                                                         [PROPOSED] DISCOVERY PLAN AND
21                  Plaintiﬀs,                           SCHEDULING ORDER

22          vs.

23   Zuﬀa, LLC (d/b/a Ultimate Fighting
     Championship and UFC) and Endeavor Group
24   Holdings, Inc.,

25                  Defendants.

26

27

28
                                                                           Case No.: 2:21-cv-01189 RFB-BNW
                                 [PROPOSED] DISCOVERY PLAN AND SCHEDULING ORDER
         Case 2:21-cv-01189-RFB-BNW Document 51 Filed 01/14/22 Page 2 of 15



 1
              Under Fed. R. Civ. P. 26(f) and Local Rule 26-1, counsel for Plaintiffs1 and Defendants2
 2
     conducted a discovery planning conference on August 2, 2021, and submit the following [Proposed]
 3
     Discovery Plan and Scheduling Order.
 4
         I.      Statement of the Case
 5
                 A. Plaintiffs’ Statement
 6
              Plaintiffs filed this action because the UFC continues to violate the antitrust laws—including by
 7
     imposing new long-term, exclusive contracts on fighters—enabling it to continue to harm fighters by
 8
     paying them less than half the compensation they would receive in a competitive market. This litigation
 9
     is based on a continuation of the same course of conduct at issue in Le v. Zuffa, LLC, No. 15-cv-1045
10
     (D. Nev.) (the “Le Action”). The purpose of this action is to enable fighters to recover damages for the
11
     harms Defendants’ continuing unlawful conduct has caused and continues to cause after the period for
12
     which plaintiffs seek damages in the Le Action.
13
              Thus, as the Court is aware, this matter does not arise on a blank slate. Rather, it follows nearly
14
     seven years of hard-fought litigation. In the Le Action, the Court stated in a December 10, 2020 status
15
     conference that it would certify a “bout class” consisting of all Fighters who appeared in a UFC-
16
     promoted bout from December 16, 2010 to June 30, 2017. Like the Le plaintiffs, Plaintiffs here are
17
     Professional MMA Fighters who competed in live professional MMA bouts promoted by the UFC and
18
     received artificially suppressed compensation for their services. The key difference between the
19
     proposed class here and the “bout class” in the Le Action is the time period: Plaintiffs here bring this
20
     antitrust class action on behalf of a similarly situated proposed class of Fighters who competed in live
21
     professional MMA bouts promoted by the UFC from July 1, 2017 to the present, thus setting the class
22
     period in this case to begin the day after the class period in the Le Action ends. Compare Complaint in
23
     Johnson v. Zuffa, LLC (“Compl.”), ECF No. 1, ¶34 (June 23, 2021), with Notice of Motion and Motion
24
     for Class Certification, Le v. Zuffa, LLC, ECF No. 518, at i (Feb. 16, 2018); see also Compl. ¶1
25
     (“Because the class period ultimately proposed by the plaintiffs in Le closed on June 30, 2017,
26

27   1
      “Plaintiﬀs” refers to Kajan Johnson and Clarence Dollaway.
     2
28    “Defendants” refers to Zuﬀa, LLC (d/b/a Ultimate Fighting Championship and UFC) and Endeavor
     Group Holdings, Inc.

                                                            1                   Case No.: 2:21-cv-01189-RFB-BNW
                                [PROPOSED] DISCOVERY PLAN AND SCHEDULING ORDER
         Case 2:21-cv-01189-RFB-BNW Document 51 Filed 01/14/22 Page 3 of 15



 1
     Plaintiffs Johnson and Dollaway bring this case on behalf of those like themselves who fought a bout
 2
     promoted by the UFC from July 1, 2017 to the present.”).
 3
             The substantive claims and underlying facts in this case significantly overlap with those in Le.
 4
     Plaintiffs here allege that conduct challenged in the Le Action has continued through the present, and
 5
     thus that all UFC Fighters who participated in UFC-promoted bouts since June 30, 2017 have suffered
 6
     antitrust injury. Specifically, like the plaintiffs in the Le Action, Plaintiffs here allege that Zuffa illegally
 7
     acquired, enhanced, and maintained dominant positions in the markets for (a) promoting live
 8
     professional MMA bouts, and (b) Professional MMA Fighter services (the “Relevant Markets”) through
 9
     a continuing anticompetitive Scheme. See, e.g., Compl. ¶¶1, 3-5, 95-129. In particular, Plaintiffs allege
10
     that the Scheme continues to involve Zuffa’s locking the vast majority of top Professional MMA
11
     Fighters into long-term, exclusive contracts so as to foreclose actual and potential rival MMA
12
     promoters from accessing a critical mass of top Fighters as would be needed to compete with the UFC.
13
     Id. ¶¶95-103, 130-33. Further, like the Le plaintiffs, Plaintiffs here allege that the UFC’s conduct,
14
     including its exclusive control over the vast majority of top Fighters, its acquisitions of potential rival
15
     MMA promoters, and its threats, intimidation and retaliation against Fighters who (a) challenge the
16
     UFC’s positions or authority, (b) work with other MMA promoters, or (c) otherwise speak out against
17
     the UFC, causes Professional MMA Fighters to continue to enter into these long-term, exclusive
18
     contracts and perpetuate Defendants’ market power. See, e.g., id. ¶¶95-114.
19
             Plaintiffs further allege, as in Le, that through the alleged Scheme, Zuffa has artificially
20
     suppressed compensation to MMA Fighters. See, e.g., id. ¶¶134-40. By foreclosing actual and potential
21
     rival promoters from access to a critical mass of top Fighters, rivals’ ability to compete with Zuffa has
22
     been impaired, enhancing Zuffa’s monopsony power, enabling it to continue to pay artificially low
23
     compensation to its Fighters, and continuing to cause damages to Plaintiffs and the proposed class as a
24
     result. Id.
25
             The other significant difference between this Johnson Action and the Le Action is that Plaintiffs
26
     in Johnson also allege that Zuffa, LLC’s parent, Endeavor Group Holdings, Inc. (“Endeavor”), directly
27
     participated in the alleged anticompetitive conduct. As the Court is aware from the Le Action, Endeavor
28
     (under its former name WME-IMG), acquired Zuffa about two years after the Le Action was filed, i.e.,

                                                             2                     Case No.: 2:21-cv-01189-RFB-BNW
                                [PROPOSED] DISCOVERY PLAN AND SCHEDULING ORDER
         Case 2:21-cv-01189-RFB-BNW Document 51 Filed 01/14/22 Page 4 of 15



 1
     in late 2016. The Complaint here alleges, inter alia, that Endeavor directly participated in the UFC’s
 2
     day-to-day business activities and anticompetitive conduct, promoted live professional MMA bouts and
 3
     events featuring the Professional MMA Fighters in the proposed class, and negotiated pay-per-view,
 4
     media, and sponsorship agreements on behalf of the UFC and its Fighters. See, e.g., Compl. ¶¶29, 42-
 5
     49, 95-96.
 6
                  B. Defendants’ Statement
 7
             The purpose of the Johnson lawsuit is to tack on an additional class period to recover damages
 8
     stemming from the same alleged conduct in the Le action. Cung Le, et al. v. Zuffa, LLC d/b/a Ultimate
 9
     Fighting Championship and UFC, No. 2:15-cv-01045-RFB-BNW (D. Nev.) (“Le”). The Johnson
10
     Complaint is clear on this point: “Because the class period ultimately proposed by the plaintiffs in Le
11
     closed on June 30, 2017, Plaintiffs Johnson and Dollaway bring this case on behalf of those like
12
     themselves who fought a bout promoted by the UFC from July 1, 2017 to the present.” Compl. ¶ 1.
13
     This follow-on action also seeks to add Zuffa’s parent, Endeavor Group Holdings, Inc. (“Endeavor”),
14
     as a defendant, on the basis that Endeavor acquired a majority stake (50.1%) in Zuffa in 2016. Id. ¶ 29.
15
     As set forth in Defendants’ pending motion to dismiss, the Johnson Complaint does not allege any new
16
     facts about Zuffa’s purported anticompetitive conduct since the Le complaint was filed in 2014—
17
     including during the putative class period from July 1, 2017 to the present. Nor does the Complaint
18
     contain any allegations related to the conduct of Endeavor, Zuffa’s parent company.
19
             The Johnson Plaintiffs’ reliance on stale allegations from the Le action presents substantive
20
     problems—including the antitrust statute of limitations and laches barring Plaintiffs’ injunctive relief
21
     claim and the required dismissal of Endeavor—all of which have been presented in Defendants’
22
     pending motion to dismiss. From a case management perspective, there is no justification for
23
     Plaintiffs’ request that this case proceed separately from the Le case. Indeed, Plaintiffs concede that
24
     both actions are “substantially similar” (see, e.g., above at 1). The two actions should be consolidated
25
     and discovery should proceed promptly in this action, as well as to bring the discovery in Le current. If
26
     this action survives the motion to dismiss, both actions should jointly proceed to summary judgment
27
     and, if necessary, a single trial.
28
             This Court is familiar with Plaintiffs’ antitrust claims, given that they allege the identical so-

                                                            3                    Case No.: 2:21-cv-01189-RFB-BNW
                                [PROPOSED] DISCOVERY PLAN AND SCHEDULING ORDER
         Case 2:21-cv-01189-RFB-BNW Document 51 Filed 01/14/22 Page 5 of 15



 1
     called anticompetitive “scheme” to monopsonize and monopolize the markets alleged in Le. According
 2
     to Plaintiffs, the first part of the “scheme” is Zuffa’s use of exclusive agreements with athletes, which
 3
     include options to extend or toll the length of the agreements. Compl. ¶ 97. The second part of the
 4
     alleged “scheme” is coercion. Specifically, Plaintiffs allege that Zuffa threatened to punish or ban
 5
     athletes who contracted with, or considered contracting with, competing promoters. Id. ¶¶ 104-07. The
 6
     third part is acquisitions. Referencing acquisitions from 2006 to 2011, Plaintiffs allege that Zuffa
 7
     acquired other MMA promoters “to eliminate competing titles from the marketplace.” Id. ¶146; see
 8
     also id. ¶¶ 11-14, 108-09.
 9
            The Complaint here restates the history of MMA up until 2014—as did the Le complaint when
10
     it was filed. Discovery in Le ran until June 30, 2017. But even if the claims here are just an attempt to
11
     recover damages for a class period that begins at the end of the class period in Le, Plaintiffs must prove
12
     ongoing anticompetitive conduct throughout the class period alleged in this action. The time period
13
     from July 1, 2017 to present, and the additional years of change in the market dynamics, also bear
14
     directly on the validity of Plaintiffs’ monopsony claims in both the Le and Johnson actions—including
15
     the continued proliferation of numerous competitors to the UFC, many backed by well-funded
16
     individuals or corporations with established television distribution and competing to attract the same
17
     athletes. Id. ¶¶ 121, 123 (Legacy Fighting Alliance); id. ¶ 122 (Titan Fighting Championship); id. ¶
18
     124 (Invicta Fighting Championship); id. ¶¶ 115, 126 (Bellator). In the Johnson Complaint, Plaintiffs
19
     also ignore the existence of several other large MMA promoters, including Professional Fighters
20
     League (“PFL”), Combate Global, and ONE Championship.
21
            To prevail in Le or Johnson, Plaintiffs will not be able to merely rest on proving the alleged
22
     anticompetitive conduct from 2017 and before; at any trial, Zuffa will show that the alleged markets
23
     were always competitive, and available for entry to new competitors, by the evidence of continued and
24
     growing competition ongoing in 2021 (and 2022). To obtain injunctive relief in Le and to obtain any
25
     relief in Johnson, Plaintiffs will need to establish that the conduct alleged in Le actually continued into
26
     the relevant period alleged here. It is not clear that Plaintiffs have come to terms with this burden—
27
     they have not even alleged any ongoing anticompetitive conduct starting after July 1, 2017 for the
28
     Johnson Complaint to survive as explained in Defendants’ pending motion to dismiss.

                                                           4                   Case No.: 2:21-cv-01189-RFB-BNW
                               [PROPOSED] DISCOVERY PLAN AND SCHEDULING ORDER
         Case 2:21-cv-01189-RFB-BNW Document 51 Filed 01/14/22 Page 6 of 15



 1
        II.       Outstanding Motions
 2
               On September 10, 2021, Defendants filed a motion to dismiss Plaintiffs’ Complaint. ECF No.
 3
     17. Plaintiffs filed their opposition brief on October 22, 2021. Defendants filed a reply on November
 4
     18, 2021.
 5
        III.      Schedule and Process for Coordination of this Action with Le v. Zuffa, LLC
 6
               A. Plaintiﬀs’ Statement
 7
               Plaintiﬀs believe that the Johnson Action should not interfere with the Le Action proceeding
 8
     through class certiﬁcation, summary judgment, and a damages trial.          e Le Action—which was ﬁled in
 9
     December 2014 and includes class members who suﬀered injury beginning in 2010—is substantially
10
     advanced: pleadings issues have long since been resolved; fact and expert discovery has been
11
     completed; and the parties are awaiting the Court’s class certiﬁcation order.       e Le class members
12
     should have their opportunity to obtain redress as soon as is practicable. Moreover, there are many
13
     overlapping factual and legal issues as between the Le and Johnson actions that would beneﬁt from
14
     completing Le before proceeding to discovery in Johnson. Accordingly, Plaintiﬀs in both actions
15
     believe that the most eﬃcient way to proceed would be for the jury trial in the Le Action to proceed
16
     with respect to liability and damages. Following that trial, Plaintiﬀs in Johnson propose that limited
17
     discovery be conducted, to be followed by class certiﬁcation and summary judgment, and a jury trial
18
     with respect to liability and damages. Plaintiﬀs in both the Le and Johnson Actions propose holding the
19
     Le plaintiﬀs’ request for injunctive relief in abeyance to be decided by the Court together with the
20
     Johnson plaintiﬀs’ request for injunctive relief following the Johnson Action’s trial on liability and
21
     damages.
22
               In short, Plaintiﬀs request that the Court hold two trials:
23
               (1) An initial jury trial in the Le Action to resolve liability and damages; and
24
               (2) A subsequent trial at which a jury would resolve liability (consistent with preclusion
25
                  doctrine based on the Le Action) and damages in the Johnson Action, and then the Court
26
                  (again, consistent with preclusion doctrine) would decide equitable relief in both the Le and
27
                  Johnson Actions.
28
               If adopted, this proposal will produce signiﬁcant eﬃciencies and case management beneﬁts. A

                                                             5                    Case No.: 2:21-cv-01189-RFB-BNW
                                 [PROPOSED] DISCOVERY PLAN AND SCHEDULING ORDER
         Case 2:21-cv-01189-RFB-BNW Document 51 Filed 01/14/22 Page 7 of 15



 1
     jury would ﬁrst make ﬁndings on liability and damages in the Le Action.         e Court and the parties
 2
     would then assess the status of the proceedings and focus on additional limited discovery, which would
 3
     involve some assessment of current market circumstances. With respect to the Johnson Action,
 4
     Plaintiﬀs would require some limited discovery (discussed below), including limited fact and expert
 5
     discovery to address Endeavor issues, damages, and to address the events and circumstances following
 6
     the June 30, 2017 end of the Le Action’s bout class period.      at limited discovery would bring damages
 7
     through the present—for the Johnson Action—and assess the appropriateness of injunctive relief in the
 8
     two cases.    e Court could then decide class certiﬁcation and summary judgment in the Johnson
 9
     Action—likely on an expedited basis, given that the Court could likely rely on its legal and factual
10
     determinations in the Le Action, consistent with principles of issue and claim preclusion and the
11
     Seventh Amendment. See, e.g., Parklane Hosiery Co. v. Shore, 439 U.S. 322, 333-34 (1979); Dairy
12
     Queen v. Wood, 369 U.S. 469 (1962); Beacon         eatres v. Westover, 359 U.S. 500, 504 (1959); Brady v.
13
     Daly, 175 U.S. 148 (1899).
14
               e Court would then hold a second trial. It would address liability and damages in the Johnson
15
     Action—to the extent those issues remain open after the jury’s ﬁndings in the Le Action. See Parklane
16
     Hosiery, 439 U.S. at 333-34.     e second trial would also allow the Court to rule on equitable relief in
17
     both the Le and Johnson Actions, guided by the juries’ ﬁndings in the Le and Johnson Actions. Beacon
18
       eatres, 359 U.S. at 504.
19
               is process would be highly eﬃcient. Resolving the Le Action would greatly narrow the issues
20
     in and expedite the resolution of the Johnson Action, and the juries’ ﬁndings in both the Le and Johnson
21
     Actions would narrow the issues in and expedite this Court’s resolution of equitable relief.
22
            To maximize the eﬃciency beneﬁts, Plaintiﬀs propose staying the proceedings in this Johnson
23
     Action, once the motions to dismiss are resolved, until after the Le jury trial relating to liability and
24
     damages. While Plaintiﬀs recognize that stays are typically disfavored because they prevent timely
25
     resolution of disputes, this case presents unique circumstances, following as it does on the heels of a
26
     substantially related case. As set forth above, structuring proceedings as proposed would allow the Le
27
     plaintiﬀs and members of the bout class in Le to proceed forthwith to a trial on liability and damages;
28
     would permit additional discovery in the Johnson case to beneﬁt from the outcome of the Le trial; and

                                                            6                    Case No.: 2:21-cv-01189-RFB-BNW
                               [PROPOSED] DISCOVERY PLAN AND SCHEDULING ORDER
         Case 2:21-cv-01189-RFB-BNW Document 51 Filed 01/14/22 Page 8 of 15



 1
     would allow discovery relating to current market conditions that would guide the Court’s decision on
 2
     the injunctive relief claims in both cases to occur simultaneously.
 3
            As the Le Action’s proceedings have demonstrated, there can be a signiﬁcant gap between the
 4
     close of discovery and the beginning of trial.   at potential gap opens the door for Defendants to claim
 5
     that the competitive landscape has changed signiﬁcantly, and thus additional discovery would be
 6
     needed pre-trial. In fact, not only have Defendants made such an argument in their Motion to Dismiss
 7
     in the Johnson Action, they also have made clear in meet and confers that they assert additional
 8
     discovery is necessary before resolution of injunctive relief issues in the Le Action as well. As a result,
 9
     Plaintiﬀs’ proposal to delay discovery concerning these post-June 2017 issues relevant to damages only
10
     in the Johnson Action and to injunctive relief in both actions, minimizes the prejudice to the Le
11
     plaintiﬀs and Le class members and enhances eﬃciencies across both cases for the Court and parties,
12
     including by avoiding duplication and delay. It should also be noted that the outcome of the Le trial
13
     may well provide insights that would allow the parties to settle the Johnson case, rendering further
14
     discovery and trial in Johnson unnecessary. Discovery should proceed only once more. It should not
15
     occur in the Johnson Action now only to take place yet again after the jury trial in the Le Action, as
16
     Defendants would surely request.
17
                us, in short, Plaintiﬀs propose the following sequencing for coordinating the Le and Johnson
18
     Actions:
19
        1. A Stay of Discovery in Johnson pending the completion of the damages trial in Le. Other than
20
            ruling on the motion to dismiss pending in Johnson, the Court should stay the action until the
21
            damages trial in Le concludes.
22
        2. A Jury Trial Determining Liability and Damages in Le. Le should proceed through class
23
            certiﬁcation, summary judgment, and a jury trial on liability and damages as expeditiously as
24
            possible and without additional discovery.
25
        3. Lifting the Stay of Discovery in Johnson and Proceeding         rough Pre-Trial Motions. Plaintiﬀs
26
            propose that: (a) the full discovery record in Le, including expert reports, depositions, and
27
            hearing testimony should be usable for all purposes in Johnson as if taken in Johnson; and (b)
28
            limited and clearly deﬁned additional discovery as to liability and damages in Johnson and

                                                           7                    Case No.: 2:21-cv-01189-RFB-BNW
                               [PROPOSED] DISCOVERY PLAN AND SCHEDULING ORDER
         Case 2:21-cv-01189-RFB-BNW Document 51 Filed 01/14/22 Page 9 of 15



 1
            injunctive relief in both Le and Johnson would proceed. Following that discovery, the Johnson
 2
            Action should proceed through class certiﬁcation and summary judgment.
 3
        4. A Trial in which a Jury Would Determine Liability and Damages in Johnson and the Court
 4
            Would Resolve Equitable Relief in Le and Johnson. Following the additional discovery period
 5
            and pre-trial motions in Johnson, Johnson should proceed through a jury trial on liability and
 6
            damages.     e Court should then proceed with determining the appropriateness of injunctive
 7
            relief for the claims in both Le and Johnson in a manner consistent with preclusion doctrine and
 8
            the Seventh Amendment right to trial by jury.
 9
            B. Defendants’ Statement
10
            Plaintiffs do not dispute that the Johnson lawsuit involves essentially the same factual
11
     allegations as the prior Le action. Nor do they dispute that the two cases involve similar legal theories.
12
     Plaintiffs admit that the purpose of this case is to add an additional damages class stemming from the
13
     same alleged conduct in Le. See Compl. ¶ 1. They are represented by the exact same attorneys who
14
     filed the Le complaint and concede that the two cases “involve virtually identical factual allegations
15
     related to the same series of events, facts, and circumstances, and assert identical claims for relief.”
16
     Plaintiffs’ Notice of Related Cases, ECF No. 9 (July 2, 2021). They even contend that the cases are so
17
     similar that “the full discovery record in Le, including expert reports, depositions, and hearing
18
     testimony should be usable for all purposes in Johnson as if taken in Johnson.”
19
            Despite this overlap, Plaintiffs’ attorneys propose that these two cases proceed separately, with
20
     two separate trials and another equitable relief (bench trial) proceeding. There is nothing logical or
21
     efficient about this proposal. Plaintiffs’ proposal would require this Court to sever the issues in the Le
22
     case into two proceedings: one on merits and damages, and one on injunctive relief. The latter would
23
     take place after the separate trial on liability and damages in Johnson. Plaintiffs further propose that
24
     discovery in this case would be stayed rather than advanced and joined with updated discovery in Le.
25
     The parties here would then have to wait for the Court to issue a class certification order in Le, for the
26
     resolution of any interlocutory appeal, and then, if the case survives summary judgment, for a trial in
27
     Le. In turn, the parties in Le would have to wait years for this lawsuit to begin discovery and then
28


                                                           8                    Case No.: 2:21-cv-01189-RFB-BNW
                               [PROPOSED] DISCOVERY PLAN AND SCHEDULING ORDER
        Case 2:21-cv-01189-RFB-BNW Document 51 Filed 01/14/22 Page 10 of 15



 1
     proceed to trial before any resolution of the injunctive relief claims.
 2
             Rule 42 contemplates situations like this one, where two separation actions involve common
 3
     facts and legal issues, and provides a court discretion to “consolidate” or “join for hearing or trial” any
 4
     actions that “involve a common question of law or fact” to promote judicial economy. Fed. R. Civ. P.
 5
     42. If this action survives Defendants’ pending motion to dismiss, Defendants will accordingly move
 6
     to consolidate the Le and Johnson actions and the Court should consolidate this action with Le under
 7
     Rule 42(a) and set a discovery schedule to allow for discovery, applicable in both actions, to update the
 8
     record for the events following mid-2017 and to converge both cases onto the same track for summary
 9
     judgment and trial. See, e.g., Kaplan v. Gelfond, 240 F.R.D. 88, 90-92 (S.D.N.Y. 2007) (“Differences
10
     in . . . the class period do not render consolidation inappropriate if the cases present sufficiently
11
     common questions of fact and law, and the differences do not outweigh the interests of judicial
12
     economy served by consolidation”).
13
             Holding two separate liability and damages trials and delaying the resolution of Le’s injunctive
14
     relief claims makes no sense—both substantively and procedurally. Given the interrelated allegations
15
     in the Le action and its current procedural posture, the best way to proceed is a schedule that would
16
     allow the Johnson case to catch up to Le, which would avoid duplicative discovery and ensure that both
17
     cases—and this dispute as a whole—moves efficiently toward a resolution. There is sufficient time for
18
     discovery in Johnson to be completed and coordinated with Le. The parties are awaiting an order on
19
     class certification in Le (which would be appealed), updated discovery is required in Le, and the Court
20
     also will need to set a schedule to re-brief Daubert motions and summary judgment in that case.
21
     Moreover, it is also fundamentally unfair to structure the case in a way that permits Plaintiffs’ multiple
22
     bites at the apple.
23
             To the extent that Plaintiffs are suggesting that liability issues decided in their favor in a Le trial
24
     would be carried forward with preclusive effect here, they are wrong. Jury verdict forms do not
25
     ordinarily provide extensive findings of fact to permit the application of issue preclusion. See
26
     generally American Bar Association Antitrust Section, Model Jury Instructions in Civil Antitrust Cases
27
     (A.B.A., Chicago, Ill., 2016). A jury verdict for the plaintiffs for the period 2014 to mid-2017 in the Le
28
     action, even with the introduction of evidence in that trial from the period after mid-2017 to show the

                                                            9                     Case No.: 2:21-cv-01189-RFB-BNW
                                [PROPOSED] DISCOVERY PLAN AND SCHEDULING ORDER
         Case 2:21-cv-01189-RFB-BNW Document 51 Filed 01/14/22 Page 11 of 15



 1
     growth of competition and ease of entry, would not be sufficient for issue preclusion with respect to
 2
     liability (both the actual conduct and antitrust injury and impact) for the Johnson action and the period
 3
     mid-2017 and after. To recover damages for the class period alleged in this action, Plaintiffs will need
 4
     to prove ongoing anticompetitive conduct and antitrust injury and impact in subsequent periods, as well
 5
     as that whatever anticompetitive conduct alleged in Le actually continued into the relevant statutory
 6
     period here. See Samsung Elecs. Co. v. Panasonic Corp., 747 F.3d 1199, 1202 (9th Cir. 2014).
 7
     Practically, for contracts entered into during the alleged class period in this case, proving any
 8
     anticompetitive effects and injury to Plaintiffs here as a result of those contracts would require looking
 9
     to the competitive market dynamics in this class period—something that cannot be carried over from
10
     evidence developed in the Le case. Cf. Pace Indus., Inc. v. Three Phoenix Co., 813 F.2d 234, 238 (9th
11
     Cir. 1979) (to constitute a continuing violation, a defendant’s act within the limitations period must be
12
     “a new and independent act that is not merely a reaffirmation of a previous act” and must “inflict new
13
     and accumulating injury on the plaintiff”). Moreover, Plaintiffs’ acknowledgement that the injunctive
14
     relief sought in Le (and therefore complete resolution of Le) would require additional evidence and
15
     testimony over the last four years from this case only favors consolidation and a single trial in both
16
     actions.3 Plaintiffs’ proposal that the injunctive relief phase of both cases be relegated to a third
17
     proceeding, after two separate trials, only creates further complication and delay.
18
            The more efficient path is to consolidate the two actions and conduct one trial. In particular, the
19
     Court should allow discovery in this case to commence, as to the parties involved in both the Le and
20
     Johnson actions, so that the parties may conduct the necessary discovery to update the record since
21
     mid-2017 and account for the additional class period the Plaintiffs are trying to add to the Le action. To
22
     avoid unnecessary and wasteful efforts by the parties, discovery into newly-added defendant Endeavor
23
     should be stayed until the Court has rendered a decision on Defendants’ motion to dismiss. At the close
24
     of supplemental discovery, the Le and Johnson actions should then proceed, with summary judgment
25

26
     3
       For the reasons explained in Zuﬀa’s motion opposing class certiﬁcation in Le, Defendants do not
27   concede that the named plaintiﬀs in either action have standing to seek injunctive relief. See
     Opposition to Motion for Class Certiﬁcation, Le v. Zuﬀa, LLC, ECF No. 540 at 40 (Apr. 6, 2018)
28   (“Plaintiﬀs do not have standing to bring a Rule 23(b)(2) claim for injunctive relief because they are
     former UFC athletes.”).

                                                           10                   Case No.: 2:21-cv-01189-RFB-BNW
                               [PROPOSED] DISCOVERY PLAN AND SCHEDULING ORDER
        Case 2:21-cv-01189-RFB-BNW Document 51 Filed 01/14/22 Page 12 of 15



 1
     motions for both and a single trial. There is nothing economical about trying two “substantially
 2
     similar” cases separately. Far from “produc[ing] significant efficiencies and case management
 3
     benefits,” Plaintiffs’ plan would needlessly require this Court to hold multiple trials on the same
 4
     alleged “scheme” supposedly causing ongoing injury beginning with the Le class period and continuing
 5
     unto the Johnson class period, where Defendants’ proposal—consolidation—would require only one.
 6
         IV.      Discovery Topics
 7
               With respect to the Johnson Action, the parties agree that additional discovery will be necessary
 8
     to supplement the evidentiary record from the Le Action. The Parties believe the following additional
 9
     discovery is appropriate for this matter.
10
               Discovery to be sought by Plaintiffs (Plaintiffs’ Statement). After the Le liability and
11
     damages trial, Plaintiffs will seek limited additional discovery from both Defendants and third parties,
12
     including, inter alia:
13
              updated structured data on fighter compensation from both Defendants and third-party MMA
14
               promoters bringing their prior productions current to the present;
15
              document productions from a limited set of Defendants’ custodians and third parties to update
16
               discovery from the Le Action;
17
              depositions of certain of Defendants’ corporate representatives and certain employees, including
18
               depositions of a limited number of Endeavor witnesses, and limited further depositions of
19
               certain individuals previously deposed in the Le Action regarding facts and issues occurring
20
               since late 2016 when Endeavor’s predecessor acquired Zuffa; and
21
              depositions of a limited number of current third-party promoters (either corporate
22
               representatives or key individuals, depending on the promoter) to address current market
23
               conditions and other issues regarding the injunctive relief claims.
24
               Discovery to be sought by Defendants (Defendants’ Statement). While discovery has not
25
     commenced, Defendants submit that discovery should commence in order to allow the parties to
26
     conduct the additional discovery necessary in these actions on an expedited basis so that this action can
27
     be consolidated with the Le action and set for a single trial.
28
               If the cases are not consolidated, Plaintiffs’ blanket proposal that “the full discovery record in

                                                             11                   Case No.: 2:21-cv-01189-RFB-BNW
                                 [PROPOSED] DISCOVERY PLAN AND SCHEDULING ORDER
        Case 2:21-cv-01189-RFB-BNW Document 51 Filed 01/14/22 Page 13 of 15



 1
     Le, including expert reports, depositions, and hearing testimony should be ‘usable for all purposes in
 2
     Johnson as if taken in Johnson’” is flawed because such evidence, limited to the relevant class period
 3
     in Le, should not, with a blanket ruling, be permitted for use to prove liability for alleged antitrust
 4
     conduct in the different statutory period here. If the cases are to be tried separately, for example, then
 5
     any potential efficiencies of relying on discovery from the Le action must be weighed against the
 6
     burden of adding all of that material to the record wholesale, as well as potential prejudice to
 7
     Defendants. Regardless, Plaintiffs’ proposal to treat the discovery taken in Le as taken here only
 8
     further supports consolidation and a single trial for both putative classes.
 9
            In the event that some of Plaintiffs’ claims survive the pending motion, the Court’s decision will
10
     inform the scope and focus of discovery in the Johnson action. If the Court does not grant Defendants’
11
     motion to dismiss the Johnson action in its entirety, Defendants will seek discovery from the new
12
     named plaintiffs and third parties, potentially including, inter alia:
13
           document productions and data from members of the putative class relating to their claims,
14
            including contracts, financial information, and communications with and about Zuffa;
15
           depositions of current third-party competing promoters, including corporate representatives and
16
            key individuals;
17
           document productions and data from third-party managers and agents related to their clients’
18
            contracts, negotiating history, and financial information;
19
           document productions and data from third-party competing promoters related to their contracts
20
            venues, sponsors, broadcasters and merchandisers, financial information, and business and
21
            strategic plans;
22
           document productions and data from third-party broadcasters relating to contracts with
23
            competing promoters and strategic plans;
24
           interrogatories and requests for admission to be served on each individual Plaintiff in the
25
            putative class;
26
           depositions of members of the putative class, third-party managers, and agents;
27
           depositions of individuals deposed in the Le action regarding facts and issues occurring during
28
            the relevant time period (July 1, 2017 to the present);

                                                           12                   Case No.: 2:21-cv-01189-RFB-BNW
                               [PROPOSED] DISCOVERY PLAN AND SCHEDULING ORDER
      Case 2:21-cv-01189-RFB-BNW Document 51 Filed 01/14/22 Page 14 of 15



 1
          supplemental document productions and data from custodians in the Le action regarding facts
 2
           and issues occurring during the relevant time period (July 1, 2017 to the present).
 3
                                                         Respectfully submitted,
 4

 5
     January 14, 2022
 6

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                                                       13                   Case No.: 2:21-cv-01189-RFB-BNW
                              [PROPOSED] DISCOVERY PLAN AND SCHEDULING ORDER
       Case 2:21-cv-01189-RFB-BNW Document 51 Filed 01/14/22 Page 15 of 15



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                                                  14                Case No.: 2:21-cv-01189-RFB-BNW
                            [PROPOSED] DISCOVERY PLAN AND SCHEDULING ORDER
